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SLR:JHK
F# 2016V01946

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - -X

LETITIA GREEN,                                                                 ANSWER

                              Plaintiff,                                       Civil Action No.
                                                                               16 CV 3037
          -against-
                                                                               (Feuerstein, J.)
UNITED STATES OF AMERICA,                                                      (Shields, M.J.)

                              Defendant.

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          Defendant United States of America (ADefendant@), by its attorney ROBERT L.

CAPERS, United States Attorney for the Eastern District of New York, James H. Knapp,

Assistant United States Attorney, of counsel, hereby answers the Complaint in this action upon

information and belief as follows:

          1.        Denies having knowledge or information sufficient to form a belief as to the truth

of the allegation set forth in the paragraph “1.”

          2.        Denies the allegations set forth in paragraph A2@ of the complaint, and avers that the

United States Department of Health and Human Services is an Agency within the executive branch

of the United States government.

          3.        Avers that Paragraph 3 purports to set forth the jurisdictional basis for this action,

to which no response is necessary.                     In addition, to the extent said paragraph sets forth

allegations of material fact, Defendant denies those allegations.

          4.        Avers that Paragraph purports to set forth a basis for venue of this action, to

which no response is necessary.               In addition, to the extent said paragraph sets forth allegations

of material fact, Defendant denies those allegations.

          5.        Avers that on August 17, 2015, the United States Department of Health and
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Human Services received an administrative tort claim filed on behalf of Plaintiff; denies any

remaining allegations of material fact set forth in the paragraph 5.

       6.      Admits.

       7.      Avers that to the extent that Paragraph 7 purports to state conclusions of law, no

response is necessary.    To the extent said paragraph sets forth allegations of material fact,

Defendant denies.

       8.      Avers that to the extent that Paragraph 8 purports to state conclusions of law, no

response is necessary.    To the extent said paragraph sets forth allegations of material fact,

Defendant denies.

       9.      Denies and avers that Long Island Federally Qualified Health Centers, a division

of Hudson River Healthcare Inc. (“HRH”), employed Dr. Sami Ahmad; further avers that HRH

is a recipient of federal grants pursuant to the Public Health Services Act, under the Federally

Supported Health Centers Assistance Act of 1992 (“FSHCCA”), 42 U.S.C. § 233(g)-(n) (2006);

and denies any remaining allegations of material fact set forth in the paragraph 9.

       10.     Denies having knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in Paragraph 10 of the complaint.

       11.     Denies, except admits that Dr. Sami Ahmad treated Plaintiff on April 25, 2014;

and denies any remaining allegations of material fact set forth in the paragraph 11.

       12.     Avers that to the extent that Paragraph 12 purports to state conclusions of law, no

response is necessary.    To the extent said paragraph sets forth allegations of material fact,

Defendant denies.

       13.     Denies, except admits that Dr. Sami Ahmad treated Plaintiff on April 25, 2014;
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and denies any remaining allegations of material fact set forth in the paragraph 13.

       14.     Denies, except admits that Dr. Sami Ahmad treated Plaintiff on April 25, 2014;

and denies any remaining allegations of material fact set forth in the paragraph 14.

       15.     Denies.

       16.     Avers that to the extent that Paragraph 16 purports to state conclusions of law, no

response is necessary.    To the extent said paragraph sets forth allegations of material fact,

Defendant denies.

       17.     Defendant United States of America repeats, reiterates and restates each and every

allegation set forth in the preceding paragraphs as if same were fully set forth herein.

       18.     Avers that to the extent that Paragraph 18 purports to state conclusions of law, no

response is necessary.    To the extent said paragraph sets forth allegations of material fact,

Defendant denies.

       19.     Denies, except admits that Dr. Sami Ahmad treated Plaintiff on April 25, 2014;

and denies any remaining allegations of material fact set forth in the paragraph 19.

       20.     Avers that, to the extent that Paragraph 20 purports to state conclusions of law, no

response is necessary. To the extent said paragraph sets forth allegations of material fact,

Defendant denies.

       21.     Denies.

       22.     Denies.

       Defendant denies each and every allegation in the complaint to the extent not admitted or

otherwise responded to herein.

                                  AS AND FOR A FIRST DEFENSE
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        Plaintiff=s claims should be dismissed for lack of subject matter jurisdiction.

                                    AS AND FOR A SECOND DEFENSE

        Plaintiff=s claims should be dismissed for failure to state a claim upon which relief may

be granted.

                                    AS AND FOR A THIRD DEFENSE

        Plaintiff=s claims are subject to, and limited by, the Federal Tort Claims Act (AFTCA@),

28 U.S.C. '' 1346(b), 2671-2680.

                               AS AND FOR A FOURTH DEFENSE

        The United States, through its employees and agents, acted with due care and diligence at

all relevant times.

                               AS AND FOR A THIRD DEFENSE

        The United States acted reasonably at all times and has breached no duty of care owed to

plaintiff.

                             AS AND FOR A FOURTH DEFENSE

        Plaintiff=s injuries, if any, were sustained without any negligence or fault or want of care

on the part of the United States.

                               AS AND FOR A FIFTH DEFENSE

        The United States cannot be liable for attorneys’ fees except as in accordance with the

Federal Tort Claims Act, 28 U.S.C. § 2678.

                               AS AND FOR A SIXTH DEFENSE

        The United States cannot be liable for interest prior to the entry of judgment or for

punitive or special damages.
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                            AS AND FOR A SEVENTH DEFENSE

        No acts or omissions by the United States were the proximate cause of any injury to the

plaintiff.

                            AS AND FOR AN EIGHTH DEFENSE

        The alleged injuries were caused solely by the acts or omissions of other parties, persons,

or entities, their servants, agents, representatives, or employees, none of whom are agencies or

employees of the United States for whom the United States has any liability pursuant to the

FTCA.

                             AS AND FOR AN NINTH DEFENSE

        In the event the United States of America is found to have been negligent, which

negligence is denied, the superseding and intervening negligence of third parties, for whom the

United States cannot be held liable, broke any causal connection between the United States=

negligence and the plaintiff=s alleged injury, cutting off the legal effect of the United States=

alleged negligence.

                             AS AND FOR AN TENTH DEFENSE

        If plaintiff is entitled to recover against the United States by reason of the matters of

negligence alleged in the Complaint, which the United States denies, then plaintiff was

comparatively negligent, and any recovery by plaintiff must be diminished in proportion to her
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negligence, in accordance with New York Civil Practice Law and Rules § 1411.

                           AS AND FOR A ELEVENTH DEFENSE

       In the event plaintiff recovers a verdict or judgment against the United States, then said

verdict or judgment must be reduced pursuant to ' 4545 of the New York Civil Practice Law and

Rules (ACPLR@), and any other applicable New York state law, by those amounts which have

been, or will, with reasonable certainty, be reimbursed or indemnified to plaintiff, in whole or in

part, for any past or future economic loss arising from the incidents alleged in the Complaint,

from any collateral source such as insurance, Social Security, Workers Compensation, veterans=

benefits, or employees benefit programs.

                           AS AND FOR A TWELFTH DEFENSE

       The liability of the United States, if any, with respect to any claim by plaintiff for

non-economic loss is subject to the limitations set forth in New York CPLR ' 1600 et seq., to an

equitable share determined in accordance with the relative culpability of all persons or entities

causing or contributing to the total liability for non-economic loss, including persons or entities

over whom plaintiff could have obtained jurisdiction with due diligence.

                         AS AND FOR A THIRTEENTH DEFENSE

       Plaintiff=s recovery, if any, is limited to the amount of damages specified in the

administrative claim pursuant to 28 U.S.C. ' 2675(b).

                         AS AND FOR A FOURTEENTH DEFENSE

       Plaintiff has no right of recovery under New York Insurance Law § 5101, et seq., because

he has not sustained economic loss greater than basic economic loss and he has not sustained a
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serious injury.

                              AS AND FOR A FIFTEENTH DEFENSE

       Plaintiff failed to mitigate her damages, if any.

                              AS AND FOR A SIXTEENTH DEFENSE

       WHEREFORE, Defendant demands that this Court dismiss the Plaintiff=s complaint,

grant Defendant its costs and expenses for the defense of this action, and grant Defendant any

such other and further relief as this Court may deem just and proper.

Dated: Central Islip, New York
       August 25, 2016

                                                      ROBERT L. CAPERS
                                                      United States Attorney
                                                      Eastern District of New York
                                                      Attorney for Defendant
                                                      610 Federal Plaza
                                                      Central Islip, New York 11722


                                              By:      s/ James H. Knapp
                                                      JAMES H. KNAPP (JK – 5517)
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